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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE


 BA YER HEALTHCARE LLC,

                Plaintiff,

         V.
                                                                No. 16-cv-1122-RGA
 BAX.ALTA INC., BAX.ALT A US INC., and
 NEKT AR THERAPEUTICS,

                Defendants.




                                    MEMORANDUM ORDER

       Presently before the Court are the parties' Daubert motions. (D.I. 243 , 250). I have

reviewed the parties' briefing. (D.I. 244, 251 , 270, 271 , 279, 283).

  I.   BACKGROUND

       Plaintiff asserts claims 1- 9 of U.S. Patent No. 9,364,520 ("the '520 patent"). (D.I. 1).

The '520 patent is directed to forms of factor VIII, "a protein necessary for normal blood clotting

in response to injury." (D.I. 99 at 1). The patent claims factor VIII conjugates not found in

nature, made up of recombinant factor VIII and one or more biocompatible polymers chemically

bonded to factor VIII at the protein region known as the "B-domain." (Id. at 1, 3). The claimed

factor VIII conjugates are formed through a process called pegylation, which is the conjugation

of recombinant factor VIII with polyethylene glycol ("PEG"), a biocompatible polymer. (Id. at

5). Claims 1 and 9 are independent claims. Claims 2- 8 depend from claim 1.
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       The accused product is Adynovate, a pegylated factor VIII used to treat hemophilia A.

(D.I.28125; D.I. 247 at 1). Hemophilia A is a congenital bleeding disorder caused by deficient

or defective factor VIII. '520 patent at 1:25-32.

       The parties previously moved for summary judgment. I granted Plaintiffs motion with

respect to Defendants' invalidity defense of lack of utility. (D.I. 319).

       The parties now each move to exclude expert opinions on reasonable royalties for failure

to meet Daubert standards. Plaintiff moves to exclude the testimony of Dr. Gordon Rausser

(D.I. 243), and Defendants move to exclude the testimony of Dr. Sumanth Addanki (D.I. 250).

 II.   LEGAL STANDARD

       Rule 702 provides that an expert witness may offer opinion testimony if (a) the expert's

scientific, technical, or other specialized knowledge will help the trier of fact to understand the

evidence or to determine a fact in issue; (b) the testimony is based on sufficient facts or data; (c)

the testimony is the product of reliable principles and methods; and (d) the expert has reliably

applied the principles and methods to the facts of the case. Fed. R. Evid. 702.

       The Rules also "assign to the trial judge the task of ensuring that an expert's testimony

both rests on a reliable foundation and is relevant to the task at hand." Daubert v. Merrell Dow

Pharms. Inc., 509 U.S. 579, 594, 597 (1993). "The relevance prong [of Daubert] requires the

proponent [of the expert testimony] to demonstrate that the expert's 'reasoning or methodology

can be properly applied to the facts in issue."' Johnson v. Arkema, Inc., 685 F.3d 452,459 (5th

Cir. 2012) (quoting Curtis v. M & S Petroleum, Inc., 174 F.3d 661 , 668 (5th Cir. 1999)). "The

reliability prong [of Daubert] mandates that expert opinion 'be grounded in the methods and

procedures of science and ... be more than unsupported speculation or subjective belief."'

Johnson, 685 F.3d at 459 (quoting Curtis, 174 F.3d at 668).



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          In assessing the "reliability" of an expert's opinion, the trial court may consider a list of

factors including: "whether a theory or technique ... can be (and has been) tested," "whether the

theory or technique has been subjected to peer review and publication," "the known or potential

rate of error," "the existence and maintenance of standards," and "general acceptance" of a

theory in the "relevant scientific community." Daubert, 509 U.S. at 593-94; see also Kumho

Tire Co. , Ltd. v. Carmichael, 526 U.S. 137, 150 (1999) ("Daubert makes clear that the factors it

mentions do not constitute a 'definitive checklist or test."'); US v. Valencia, 600 F.3d 389, 424

(5th Cir. 2010). "The proponent need not prove to the judge that the expert's testimony is

correct, but she must prove by a preponderance of the evidence that the testimony is reliable."

Johnson, 685 F.3d at 459 (quoting Moore v. Ashland Chem., Inc., 151 F.3d 269,276 (5th Cir.

1998) (en bane)). At base, "the question of whether the expert is credible or the opinion is

correct is generally a question for the fact finder, not the court." Summit 6, LLC v. Samsung

Elecs. Co. , Ltd. , 802 F.3d 1283, 1296 (Fed. Cir. 2015). Indeed, " [v]igorous cross-examination,

presentation of contrary evidence, and careful instruction on the burden of proof are the

traditional and appropriate means of attacking shaky but admissible evidence." Daubert, 509

U.S. at 596.

III.      ANALYSIS

       A. Dr. Rausser's Reasonable Royalty Testimony

          Plaintiff argues that Dr. Rausser' s reasonable royalty opinion should be excluded for

three reasons.

          First, Plaintiff argues that Dr. Rausser' s analysis is inconsistent with the assumption that

the '520 patent is valid and infringed. Plaintiff asserts that Dr. Rausser improperly relies on the

anticipation, non-utility, and noninfringement analyses of Defendants' technical experts to



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apportion minimal value to the ' 520 patent in the hypothetical negotiation. (D.I. 244 at 4-11).

Plaintiff further argues that, in doing so, Dr. Rausser opines on technical issues beyond his

expertise. (Id. at 11- 12).

       I do not find Dr. Rausser's testimony inconsistent with the assumption that the '520

patent is valid. Dr. Rausser opines that the '520 patent adds little to Adynovate's value because,

among other reasons, Adynovate's extended half-life is largely derived from the prior art. (D.I.

245, Ex. B 1104). Relying on Dr. Zalipsky's anticipation testimony, Dr. Rausser concludes that

the patent "makes at most a small ' improvement' to the prior art," and thus the parties to the

hypothetical negotiation "would have accorded little or no value to the ' 520 patent compared to

the prior art." (Id. , Ex. B 11 126-28). 1 Plaintiff argues that Dr. Rausser wrongly imports a risk

of anticipation into his hypothetical negotiation. (D.I. 244 at 5-7). I disagree. Validity does not

define a patent's economic value-a patent can be valid yet offer little economic value over

existing inventions. Thus, like anticipation, damages may require technical comparisons

between the claimed invention and the prior art, albeit for different purposes. To make those

comparisons, Dr. Rausser properly relies on Dr. Zalipksy's technical analyses of the claimed

invention and the prior art. I do not think Dr. Rausser's testimony is tainted by Dr. Zalipsky's

ultimate conclusion that the '520 patent is invalid.

        Similarly, I find that Dr. Rausser properly relies on Dr. Thakker' s invalidity testimony.

(D.I. 244 at 7-9). Plaintiff argues that Dr. Rausser improperly relies on Dr. Thakker's finding



1
  Dr. Rausser applies the Georgia-Pacific factors to determine the reasonable royalty that would have
resulted from a hypothetical negotiation. Georgia-Pacific factor nine considers "[t]he utility and
advantages of the patent property over the old modes or devices, if any, that had been used for working
out similar results." Georgia-Pacific Corp. v. US. Plywood Corp., 318 F. Supp. 1116, 1120 (S.D.N.Y.
1970). Therefore, prior art is relevant to damages in that it provides a comparison point for the " utility
and advantages" of the patented invention. See Exmark Mfg. Co. Inc. v. Briggs & Stratton Power Prods.
Group, LLC, 879 FJd 1332, 1351-52 (Fed. Cir. 2018).

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that the ' 520 patent fails to demonstrate extended factor VIII half-life. (D.I. 245, Ex. B ,r 127).

As discussed in my summary judgment opinion, utility can be met without showing extended

half-life. (D.I. 319 at 20). Therefore, although the parties to the hypothetical negotiation would

assume that the '520 patent meets§ 101 utility, they would not necessarily assume that the

claimed invention extends half-life. Plaintiffs remaining arguments relate to whether Dr.

Thakker is factually incorrect and should be addressed during cross-examination. 2

        In contrast, I do find portions of Dr. Rausser' s testimony inconsistent with the

assumption of infringement. (D .I. 244 at 9- 11 ). Dr. Rausser opines that the parties to the

hypothetical negotiation would assign little value to the ' 520 patent in part because the patent

disparaged random pegylation, a characteristic of Adynovate. (D.I. 245, Ex. B ,r,r 130-31). I

construed the "isolated polypeptide conjugate" limitation in claim 1 of the ' 520 patent as "a

polypeptide conjugate where conjugation was not random." Therefore, if Adynovate is assumed

to have infringed claim 1, it cannot have been the product ofrandom pegylation. 3 , 4 Dr.

Rausser' s opinions based on the erroneous assumption that Adynovate is the product ofrandom

pegylation are excluded.




2
  Plaintiff argues that because Adynovate was available and marketed for its extended half-life at the time
of the hypothetical negotiation, the parties must have known that the claimed invention extends half-life.
(D.I. 244 at 8- 9). Plaintiff conflates the accused product and the claimed invention. Extended half-life is
not a claim limitation. See '520 patent, claims 1-9. Thus, the assumption that Adynovate infringes the
'520 patent does not automatically mean that the claimed invention extends half-life. Dr. Thakker's
opinion is based on his analysis of a figure in the ' 520 patent. (D.I. 245 , Ex. B ,r 127, Ex. J ,r,r 54- 55).
Whether that analysis is correct is a disputed issue of fact.
3
 The only claim in the ' 520 patent that does not have the " isolated polypeptide conjugate" limitation is
claim 9. Dr. Rausser does not limit his opinion regarding random pegylation to damages arising under
claim 9. (D.I. 245, Ex. B ,r,r 130-31).
4
 Plaintiff also argues that Dr. Rausser relies on his own improper technical analyses. (D.I. 244 at 11- 12).
The precise basis for Dr. Rausser ' s opinions is not clear from his report. (D.I. 245 , Ex. B ,r,r 130- 31). I
believe this is an issue best addressed on cross-examination.

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       Second, Plaintiff argues that Dr. Rausser's apportionment calculation lacks economic

foundation. (D.I. 244 at 12- 14). Dr. Rausser initially finds that a maximum of20% of

Adynovate's value may be attributed to the ' 520 patent. 5 Plaintiff asserts that Dr. Rausser then

arbitrarily reduces the apportionment from 20% to 2-4%. (Id.).

       As discussed, Dr. Rausser relies on Dr. Zalipsky and Dr. Thakker' s technical opinions to

opine that much of Adynovate' s value can be attributed to the prior art as opposed to the ' 520

patent. (D.I. 245, Ex. B ,r,r 126-28, 133; D.I. 271 at 13-14). Dr. Rausser also finds, based on

Dr. Zalipsky's testimony, that less than 10% of Adynovate factor VIII conjugates could infringe

any of the '520 patent claims. (D.I. 245, Ex. B ,r 132 (finding less than 10% of factor VIII in

Adynovate meets the SEQ ID NO. 4 claim limitation)). Dr. Rausser explained during deposition

that he reached the 2% apportionment floor by multiplying his 20% starting point by the 10% of

Adynovate conjugates that infringe. (D.I. 271 at 14; D.I. 272-1 , Ex. 2 at 289:21-290 :12).

Defendants assert that Dr. Rausser ultimately reached a conservative estimate of 2-4% based on

the totality of the evidence. (D.I. 271 at 14).

        Dr. Rausser provides an alternative apportionment rate for claim 9. Plaintiff argues that

Dr. Rausser improperly relies on his claim 9 analysis to support the 2-4% range for claims 1-8.

(D.I. 244 at 13). Claim 9 is the only '520 patent claim that requires the conjugates to be

"monopegylated." Dr. Rausser opines that the reasonable royalty rate would be "very low"

based on claim 9 alone, because only about 0.2% of Adynovate is monopegylated. (D.I. 245 , Ex.

B ,r,r 132, 135). Defendants argue that, applying the same analysis as for claims 1-8, a 0.2%

monopegylation frequency would result in an apportionment rate of 0.04% (20% starting point x




5
 Plaintiff does not challenge Dr. Rausser' s use of the 20% starting point as part of its Daubert motion .
(D.I. 244 at 12 n.11).

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0.2% of Adynovate conjugates that infringe claim 9). (D.I. 271 at 14-15). It appears that Dr.

Rausser made a calculation error during deposition to reach a result of 4% rather than 0.04%.

(D.I. 272-1, Ex. 2 at 253:12- 20). Plaintiff argues that the deposition testimony shows that Dr.

Rausser inappropriately conflates the apportionment analyses for claims 1-8 and claim 9. (D.I.

244 at 13-14). Dr. Rausser has since corrected himself. (D.I. 272-1 , Ex. 4 (Rausser deposition

errata)).

        I find that Dr. Rausser has provided sufficient evidence to show that he applies reliable

methods to the facts of this case to support his apportionment opinion. Plaintiffs arguments go

to the weight and credibility of Dr. Rausser' s testimony, which should be addressed in cross-

examination.

        Third, Plaintiff argues that Dr. Rausser fails to show the licenses he relied on are

technologically or economically comparable to the license resulting from the hypothetical

negotiation.

        "When relying on licenses to prove a reasonable royalty, alleging a loose or vague

comparability between different technologies or licenses does not suffice." LaserDynamics, Inc.

v. Quanta Comput., Inc., 694 F.3d 51 , 79 (Fed. Cir. 2012); see also Lucent Techs. , Inc. v.

Gateway, Inc., 580 F.3d 1301 , 1327-32 (Fed. Cir. 2009) (finding reliance on license agreements

"radically different" from a license resulting from the hypothetical negotiation weighed strongly

against the jury' s lump-sum damages award). However, the "degree of comparability of [the

agreements] as well as any failure on the part of [the expert] to control for certain variables are

factual issues best addressed by cross examination and not by exclusion." Active Video

Networks, Inc. v. Verizon Cornmc 'ns, Inc., 694 F.3d 1312, 1333 (Fed. Cir. 2012).




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       Regarding technical comparability, Dr. Rausser opines that comparable licenses "would

be those that license one patent or a small increment of technology, to be used in manufacturing

a Factor VIII product." (D.I. 245, Ex. B ,r 57). He analyzes the four selected licenses to show

that each includes one or two patents (or patent applications) and covers technology to

manufacture factor VIII products. (Id.   ,r,r 58-61).
       Plaintiff argues that Dr. Rausser' s "expansive criteria" for comparability is insufficient to

meet the Daubert standard. (D.I. 244 at 16). Plaintiff relies on Lucent, which found the lack of

comparability between the prior licenses and the hypothetical negotiation weighed strongly

against the jury' s lump-sum damages award under Georgia-Pacific factor two . 590 F.3d at

1325-32.6 The court primarily focused on the difference between lump-sum and running royalty

licenses. Id. at 1326. The damages award relied on eight licenses, only four of which purported

to be lump-sum licenses. The court found the fact that all four licenses covered "PC-related

patents" was mere "personal computer kinship" insufficient to "impart[] enough comparability to

support the damages award." Id. at 1328.

       Plaintiff also analogizes Dr. Rausser' s testimony to the excluded testimony in M2M

Solutions LLC v. Enfora, Inc. , 167 F. Supp. 3d 665 (D. Del. 2016). (D.I. 244 at 17). In Enfora, I

excluded reasonable royalty testimony because the expert failed to show "a basis in fact to

associate the royalty rate used in [the] prior licenses to the particular hypothetical negotiation at

issue in [that] case." Id. at 677. The damages expert' s only rationale for comparability was

undisclosed conversations with a technical expert. Further, neither expert referenced the specific




6
 Notably, Lucent addressed the sufficiency of the evidence supporting a jury' s damages award, a
different inquiry from the present issue of Daubert admissibility.

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technology in the asserted patent or the allegedly comparable licenses, "aside from the hazy

reasoning that they all relate to product features rather than core technology." Id. at 677-78.

        I find Lucent and Enfora distinguishable. In both cases, the parties failed to even identify

the relevant technology in the asserted patent and the prior licenses. See Lucent, 590 F.3d at

1328 (describing only the broad industry of personal computing); Enfora, 167 F. Supp. 3d at 677

(merely providing that the licenses addressed "particular user features, which would have greater

value to users than the user feature addressed by the [asserted patent]"). Here, Dr. Rausser has

identified the relevant field as manufacturing factor VIII products and described the specific

manufacturing technology in each of the prior licenses. (See D.I. 245, Ex. B ,r,r 57- 61).7

Plaintiff argues that Dr. Rausser needed to "specify the type of ' Factor VIII product' at issue in

the four licenses," and specifically compare that type of product to the ' 520 patent, which covers

pegylation of full-length factor VIII. (D.I. 244 at 16). Plaintiff essentially argues that Dr.

Rausser fails to show a sufficient degree of technical comparability between the selected licenses

and the license resulting from the hypothetical negotiation. I believe Dr. Rausser has provided

enough evidence of technical comparability to meet the Daubert standard. Questions of degree

should be addressed through cross-examination, not exclusion. See Active Video , 694 F .3d 1312.

        Plaintiff also argues that Dr. Rausser fails to show sufficient economic comparability.

Plaintiff asserts that the license resulting from the hypothetical negotiation would be a non-

exclusive, running royalty license between competitors, and of Dr. Rausser's four selected




7
 Plaintiff adds that Dr. Rausser does not rely on any technical experts, making his opinions ipse dixit.
(D.I. 244 at 16-17). Dr. Rausser quotes from the licensed patents/patent applications but does not cite to
support from technical experts . (D.I. 245 , Ex. B 'i['i[ 57- 61) . I do not think that alone warrants exclusion.
Plaintiff has already deposed Dr. Rausser on the technical basis for his opinions and will have the
opportunity to further explore the issue at trial. (See, e.g. , id. , Ex.Cat 198: 11-18).

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 licenses, only one is non-exclusive,8 two are between competitors, and none use a running

 royalty. (D.I. 244 at 18).

         Plaintiffs strongest argument relates to Dr. Rausser' s use of lump-sum licenses to

 support a running royalty hypothetical license. "Significant differences exist between a running

 royalty license and a lump-sum license." Lucent, 590 F.3d at 1326. A lump-sum license can still

 be relevant to running royalty damages, but "some basis for comparison" must exist. See id. at

 1330. Defendants argue that Lucent is inapposite because here, unlike in Lucent, the parties

 agree that damages should be in the form of a running royalty. (D.1. 271 at 18- 19). Defendants

 further argue that, "while it may be difficult to determine a lump sum from a running royalty," as

 shown in Lucent, "the opposite is not true." (Id. at 19).

         Defendants provide no support for their proposition that a lump-sum license may easily

 support a running royalty license, but not vice versa. The court in Lucent made clear that lump-

 sum and running royalty licenses rely on "different considerations" and have "fundamental

 differences." 590 F.3d at 1326, 1330. It follows that those differences would be relevant to any

 comparison between lump-sum and running royalty licenses, regardless of which type of license

 results from the hypothetical negotiation.

         Dr. Rausser describes the four selected licenses as having ( 1) "an upfront payment of $4

 million, a regulatory milestone payment of $2 million, and no running royalty" (the Bolder


 8
   Defendants argue that exc lusivity is not an issue because Dr. Rausser opines that the hypothetical
 negotiation would result in an exclusive, rather than non-exclusive, license. (D.I. 271 at 20). Plaintiff
 asserts the Dr. Rausser provides contradicting opinions. (D.I. 279 at 10). Dr. Rausser first states that he
 has "presumed the license to be exclusive." (D.I. 245, Ex. B ,r 36). He then later states that "a
 pharmaceutical company might be willing to pay a premium to license-or especially to exclusively
 license-one or more patent families , which enable it to obtain exclusivity or primacy in the market for
 treatment of hemophilia A with recombinant Factor VIII." But he then goes on to conclude that " no such
 premium would be economically reasonable for this narrowly limited, non-exclus ive hypothetical
 license." (D.I. 245 , Ex. B ,r 57). While I agree that Dr. Rausser' s testimony is inconsistent, I do not think
 that alone warrants excluding the entirety of Dr. Rausser' s comparable licenses opinion.

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 Biotechnology-Bayer license), (2) "an upfront lump sum of $50,000, patent cost reimbursement

 of $18,789.20, regulatory milestone payments totaling up to $3 .4 million, a sales milestone

 payment of $5 million if sales of licensed products exceeded $100 million, and a running royalty

 of 1% of net sales" (the University of Rochester-Bayer license), (3) "an annual maintenance fee

 of $50,000 and a running royalty rate of 0.5%" (the Grifols Biologicals-Baxter license), and (4)

 "an upfront signing fee of $85,000, an annual maintenance fee of $45 ,000 ... , and an annual

 royalty of $85 ,000 ... [, where the] annual royalty was to be increased by 25% every two years"

 (the University of Connecticut-Baxter license). (D.I. 245 , Ex. B ,r,r 58-61). Three of the four

 licenses include a lump-sum (upfront) payment. The first license has no running royalty, and the

 remaining three combine a running royalty with lump-sum, milestone, and/or annual payments.

 Dr. Rausser makes no effort to reconcile these features with the hypothetical license. (Se e D.I.

 245, Ex. B ,r,r 57-61). Therefore, I find Dr. Rausser has failed to show "some basis for

 comparison" to rely on the selected licenses to support his running royalty opinion. See Lucent,

 590 F.3d at 1330.

        Dr. Rausser's opinions cannot be saved by the fact that his estimated damages are

 comparable to, or even "far less" than, the values in the selected agreements. (D.I. 271 at 19).

 Comparability is a preliminary issue. An expert cannot retroactively justify the use of certain

 agreements by asserting that his ultimate damages value is similar to the values in those

 agreements. (See D.I. 179 at 10). Therefore, Dr. Rausser's comparable license opinion is

 excluded.

    B. Dr. Addanki's Reasonable Royalty Testimony

        Defendants argue that Dr. Addanki ' s reasonable royalty opinion should be excluded for

 two reasons.



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        First, Defendants argue that Dr. Addanki relies on the Nash Bargaining Solution and fails

to tie his analysis to the facts of this case.

        In the patent context, the Nash theorem provides that where two parties are bargaining,

under a certain set of premises, the Nash Bargaining Solution is a 50/50 split of the incremental

profits earned by the infringer from the use of the asserted patents. Virnet.X, Inc. v. Cisco Sys.,

Inc., 767 F.3d 1308, 1325, 1333-34 (Fed. Cir. 2014). "Anyone seeking to invoke the theorem as

applicable to a particular situation must establish [areal world fit to that set of premises],

because the 50/50 profit-split result is proven by the theorem only on those premises." Id. at

 1332. Otherwise, use of the Nash Bargaining Solution is a "rule of thumb" inadmissible under

Daubert. Id.; see also Uniloc USA, Inc. v. Microsoft Corp., 632 F .3d 1292, 1315 (Fed. Cir.

2011) (finding the 25% rule of thumb for a baseline royalty rate "fundamentally flawed" and

inadmissible).

        In VirnetX, the Federal Circuit held that the expert failed to tie the Nash premises to the

facts of the case and thus the district court erred in admitting his reasonable royalty opinion. 767

F.3d at 1331-34. The expert first determined the incremental (i.e., additional) profits associated

with the use of the patented technology. Invoking the Nash Bargaining Solution, he assumed

that the parties would split those profits 50/50. He then reduced the plaintiffs share by 10% to

account for its weaker bargaining position, resulting in a 45/55 split. Id. at 1325, 1331. The

court found the expert's use of a 50/50 starting point inadmissible, even with the 10% adjustment

to account for certain individual circumstances. Id. at 1333-34.

        In contrast, a handful of courts have found a 50/50 profit-split properly tied to the facts of

a case. Plaintiff cites to AstraZeneca AB v. Apotex Corp., in which the Federal Circuit affirmed

the district court's bench trial damages award with a 50% royalty rate in the hypothetical license.



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 The Federal Circuit upheld the award based on the district court' s factual findings that (1)

 Apotex had an unusually high expected gross margin on its generic sales, (2) Apotex lacked

 noninfringing alternatives, (3) AstraZeneca would be unwilling to license its technology due to

 the unique nature of the relevant generic market, and (4) similar rates in Apotex's other related

 licenses and settlements. 782 F.3d 1324, 1332-33 (Fed. Cir. 2015). Similarly, under Daubert,

 district courts have allowed expert testimony supporting a 50/50 split where the expert relied on

 the parties' prior negotiations and agreements. DSM IP Assets, B. V v. Lallemand Specialties,

 Inc., 2018 WL 1950413, at *5 (W.D. Wis. Apr. 25, 2018) (the expert presented evidence of other

 instances where the defendant agreed to a 50/50 split); see also Robocast, Inc. v. Microsoft

 Corp., 2014 WL 350062, at *2- 3 (D. Del. Jan. 29, 2014) (holding that a 50/50 profit-split may

 be sufficiently related to the facts of a case with "the sort of facts analogous to facts usually used

 in reasonable royalty analyses," such as the parties ' licensing history).

        Here, Dr. Addanki does substantial analyses to determine "end points of the bargaining

 range for the hypothetical negotiation." (D.I. 252, Ex. A ,r,r 61 - 69). He derives a maximum

 royalty rate from the incremental profits Baxalta would expect to earn from Adynovate (Id.           ,r
 61), and a minimum royalty rate from the profits Bayer would expect to lose by granting a

 license to Baxalta (Id.   ,r,r 62- 68).   He then assumes that Bayer and Baxalta, the parties to the

 hypothetical negotiation, had equal bargaining power, and thus a reasonable royalty rate is "the

 mid-point of the bargaining range." (Id.        ,r 70).   Defendants argue that Dr. Addanki ' s second step

 is an impermissible use of the Nash Bargaining Solution. (D.I. 251 at 3- 7).

        The entirety of Dr. Addanki's analysis regarding the 50/50 split states:

        I am aware of no evidence that would provide either party more bargaining power
        than the other in the hypothetical negotiation. I have estimated each party' s
        reservation price and it is reasonable as a matter of economics that the parties
        would have agreed to share the gains from granting Baxalta a license to the '520

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        patent equally. Accordingly, a reasonable royalty rate for the '520 patent is the
        mid-point of the bargaining range, which is 23.75 percent. Indeed, in connection
        with Nektar' s planning related to the Baxter I Nektar Development Agreement, it
        modeled an outcome of its negotiation with Baxter that it stated "assumes 50-50
        split of incremental value between Baxter and Nektar." Even after paying a
        royalty assessed at this rate, Baxalta would still expect to make substantial
        positive gross profits from selling Adynovate.

 (D.I. 252, Ex. A ,r 70). Plaintiff argues that Dr. Addanki does not rely on the Nash Bargaining

 Solution but applies the Georgia-Pacific framework to account for the similar size and

 sophistication of the negotiating parties, which indicates equal bargaining power. Both Bayer

 and Baxalta are "publicly-traded companies in the pharmaceutical industry with longstanding

 expertise in hemophilia treatment." (D.I. 270 at 3-4, 9- 10; see also D.I. 252, Ex. A        ,r,r 23-31).
            Dr. Addanki cites to a document, which he claims is evidence of an agreement between

 Baxter and Nektar resulting in a 50/50 split of incremental profits ("the Nektar document").

 (D.I. 252, Ex. A ,r 70). The Nektar document appears to be a single slide from an email chain,

 titled, "Nektar' s Share of Overall Value ~20%." A footnotes states, "Assumes 50-50 split of

 incremental value between Baxter and Nektar." (D.I. 252, Ex. D). Plaintiff asserts that the

 Nektar document relates to Nektar' s efforts with Baxalta to develop and commercialize

 Adynovate.9 (D.I. 270 at 11). Defendants argue that it lacks foundation and is not a comparable

 agreement supporting Dr. Addanki's reasonable royalty testimony. (D.I. 251 at 10-13; D.I. 283

 at 5-7).

         The Nektar document does not indicate if and how it relates to the Nektar-Baxalta

 agreement concerning Adynovate. (Se e D.I. 252, Ex. D). Dr. Addanki appears to have inferred

 that the "50-50 split" in the Nektar document refers to the Nektar-Baxalta agreement based on



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   Dr. Addanki, consistent with this assertion, describes the Nektar document as "planning related to the ..
 . Development Agreement." Dr. Addanki ' s report offers no reason to believe that development
 agreements are generally comparable to patent license agreements.
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"the timing," and the fact that the Nektar document pertains to hemophilia therapy and was

produced during discovery. (D.I. 252, Ex.Bat 127:18-130:16). Dr. Addanki's reliance on the

Nektar document is clearly distinguishable from the use of related agreements upheld in Apotex

and DSM. The present record fails to show that the Nektar document is an agreement, let alone

an agreement that is sufficiently comparable to the hypothetical license. 10

        Aside from the Nektar document, Dr. Addanki merely states that a 50/50 split would be

"reasonable as a matter of economics." (D.I. 252, Ex. A ,r 70). That is little more than a "vague

reference(] to experience and common sense" insufficient to tie the 50/50 split to the facts of this

case. See Numatics, Inc. v. Ba/luff, Inc. , 66 F. Supp. 3d 934, 961 (E.D. Mich. 2014); see also

 Good Tech. Corp. v. Mobileiron, Inc. , 2015 WL 4090431, at *7 (N.D. Cal. July 5, 2015)

 (excluding expert testimony that "fails to tie the 50/50 split to the specifics of the case or to

 explain why such a split would be reasonable---other than to invoke a boilerplate assertion about

 the relative bargaining powers of the parties"); Oracle Am. , Inc. v. Google Inc., 798 F. Supp. 2d

 1111, 1119 (N.D. Cal. 2011) (excluding expert testimony that purported to apply the Nash

Bargaining Solution but "glossed over the axioms underlying the Nash solution without citing

 any evidence to show that those assumptions were warranted in the present case").

        Dr. Addanki 's 50/50 split analysis is materially identical to the excluded testimony in

 VirnetX. Dr. Addanki invokes the Nash Bargaining Solution without establishing the necessary

Nash premises. Instead of applying the 50/50 split to the incremental profits directly, like the

 expert in VirnetX, Dr. Addanki applies the split to a range of royalty rates, with the upper bound

 based on the incremental profits. See VirnetX, 767 F.3d at 1331-34. I do not think that changes




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  Dr. Addanki offers no explanation in his report for why he relies on the Nektar document rather than
the actual Nektar-Baxalta agreement.
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 the admissibility analysis. Dr. Addanki ' s use of a range of royalty rates does not cure his failure

 to tie the Nash premises to the facts of this case.

         Therefore, Dr. Addanki ' s opinion that a reasonable royalty rate is "the mid-point of the

 bargaining range" is excluded, including any subsequent opinions that rely on that mid-point

 rate. (See D.I. 252, Ex. A ,r,r 70- 73).

         Second, Defendants argue that Dr. Addanki has failed to apportion damages.

         Royalties must be apportioned between the infringing and noninfringing features of the

 accused product. Ericsson, Inc. v. D-Link Sys., Inc., 773 F.3d 1201 , 1226- 27 (Fed. Cir. 2014).

 The royalty base should not be larger than the smallest salable unit embodying the patented

 invention. Power Integrations, Inc. v. Fairchild Semiconductor Int'!, Inc., 904 F.3d 965, 977

 (Fed. Cir. 2018). When the smallest salable unit itself has noninfringing features, the patentee

 must estimate what portion of that smallest salable unit is attributable to the patented technology.

 Id.

         Dr. Addanki opines that Adynovate is the smallest salable unit practicing the ' 520 patent.

 (D.I. 252, Ex. A ,r 37 n.42). Dr. Addanki accounts for apportionment by comparing Baxalta's

 profits from Adynovate to its profits from Advate, an older generation product. Dr. Addanki

 considers Adynovate and Advate materially identical aside from Adynovate' s infringing

 features. He thus estimates the value of the ' 520 patent by calculating the incremental value of

 Adynovate over Advate.

         [T]he circumstances surrounding the sale of Adynovate are particularly suitable to
        the valuation of the ' 520 patent to Baxalta because we can observe how the
         addition of the patented feature affected Baxalta' s profits. Specifically, we can
         observe actual market outcomes when Baxalta has sold a [recombinant Factor
         VIII] product without the patented f eature (i.e., Advate) and a second product that
         is essentially the same in every way except that it incorporates the patented
        f eature (i. e., Adynovate). To obtain any profit from selling Adynovate that could
         not be earned by selling only Advate, Baxalta would have to practice Bayer' s

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        patented invention. Consequently, the expected amount of any incremental
        profits from selling Adynovate (i.e., the profits in excess of the profits from
        selling only Advate) is the most that Baxalta should be willing to pay to license
        the '520 patent [i.e., the upper bound for a reasonable royalty rate].

(D.I. 252, Ex. A 137). Dr. Addanki conducts detailed economic analyses to determine Baxalta's

incremental profits from Adynovate, including consideration of sales and patient data for

Adynovate, Advate, and other factor VIII products. (Id. 1138-61).

        Defendants appear to dispute the factual basis of Dr. Addanki' s apportionment opinion.

Defendants assert that Dr. Addanki ignores two differences between Adynovate and Advate.

 Specifically, pegylation outside the B-domain (derived from the prior art U.S. Patent No.

 7,199,223 ("the '223 patent")) 11 and the BAXJECT III administration device. 12 Defendants

argue that both are noninfringing features of Adynovate that require further apportionment. (D.I.

251 at 15-20; D.I. 283 at 8-9).

        The fact that Adynovate has some pegylation outside the B-domain is not a distinct

 feature in itself. The '520 patent claims pegylation "at the B-domain" of factor VIII. '520

 patent, claims 1- 9. I have made clear that infringement does not require complete

 homogeneity-that is, some PEGs may attach outside the B-domain. The B-domain limitation is

 met when there are more PEGs inside the B-domain than would have resulted from random

 pegylation. (D.I. 319 at 9; D.I. 195 at 6 & n.1). Adynovate, which is presumed to infringe, must




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   Defendants also argue that Dr. Addanki fails to account for the value attributable to the prior art
 generally. (D.I. 251 at 15- 16). But, beyond conclusory statements, Defendants ' arguments all relate to
 pegylation outside the B-domain as described in the '223 patent. (Id. at 16-17, 19).
 12
   Adynovate comes in powdered form and must be reconstituted in sterile water before use. The
 BAXJECT III is an allegedly improved reconstitution device that requires fewer steps than other devices
 on the market. (D.I. 251 at 19-20).

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meet the B-domain limitation. Therefore, all pegylation in Adynovate, both inside and outside

the B-domain, comprise a single infringing feature. 13

        The BAXJECT III device is irrelevant. Defendants do not dispute that at the time of the

hypothetical negotiation, the BAXJECT III was only used with Advate and had not yet been

approved for use with Adynovate. (D.I. 270 at 19; see D.I. 283 at 7-10). As such, the

BAXJECT III could not have been a feature of Adynovate.

        I find Dr. Addanki's apportionment analysis sufficiently reliable and related to the facts

 of this case. Therefore, Dr. Addanki's reasonable royalty opinion is admissible under Daubert.

 IV.     CONCLUSION

        For the foregoing reasons, Plaintiffs motion to exclude the testimony of Dr. Rausser

 (D.I. 243) is GRANTED-IN-PART and DENIED-IN-PART, and Defendants' motion to

 exclude the testimony of Dr. Addanki (D.I. 250) is GRANTED-IN-PART and DENIED-IN-

 PART.




         IT IS SO ORDERED this ~          day of January 2019.




 13
   I understand Defendants may also be arguing that since the '223 patent described pegylation of Factor
 VIII generally, and Adynovate is a pegylated Factor VIII, the '223 patent contributes value to Adynovate.
 (See D.I. 251 at 15-17, 19). Although reasonable, I do not think Defendants' theory is necessarily
 correct. Both the '223 patent and the '520 patent provide methods for pegylating Factor VIII. There may
 or may not be overlap between those methods . I do not think the possibility of overlap is sufficient to
 warrant exclusion of Dr. Addanki 's reasonable royalty opinion.

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